Case 2:21-cv-07208-MWF-PD Document 17 Filed 12/01/21 Page 1 of 2 Page ID #:370

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-7208 MWF (PDx)                                     Date: December 01, 2021
 Title       Westport Insurance Corporation v. The X-Law Group, P.C., et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

        A review of the docket in this action reflects that the Complaint was filed on
 September 8, 2021. (Docket No. 1). Pursuant to Federal Rules of Civil Procedure,
 Rule 4(m), the time to serve the Complaint will expire on December 7, 2021. On
 October 26, 2021, Plaintiff filed two Proofs of Service (“POS”) reflecting
 substituted service by mail on Defendants The X-Law Group, P.C. and Filippo
 Marchino on October 19 and 25, 2021. (Docket Nos. 14 and 15). Defendants’
 responses to the Complaint were due November 19 and 26, 2021.

       The Court ORDERS Plaintiff to show cause why this action should not be
 dismissed for lack of prosecution. In response to this Order to Show Cause, the
 Court will accept the following no later than DECEMBER 17, 2021.

          BY DEFENDANTS: RESPONSES TO THE COMPLAINT. The
           parties may also file an appropriate stipulation to extend the time within
           which Defendants must respond to the Complaint.

                   OR

          BY PLAINTIFF: APPLICATIONS FOR CLERK TO ENTER
           DEFAULT.

       No oral argument on this matter will be heard unless otherwise ordered by
 the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand


 CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 2
Case 2:21-cv-07208-MWF-PD Document 17 Filed 12/01/21 Page 2 of 2 Page ID #:371

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No.        CV 21-7208 MWF (PDx)                           Date: December 01, 2021
 Title       Westport Insurance Corporation v. The X-Law Group, P.C., et al.

 submitted upon the filing of the response to the Order to Show Cause. Failure to
 respond to the Order to Show Cause by December 17, 2021 will result in the
 dismissal of this action.

         IT IS SO ORDERED.

                                                                Initials of Preparer: RS/sjm




 CV-90 (03/15)                      Civil Minutes – General                       Page 2 of 2
